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UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CR No. 11-00455-JAK

PLEA AGREEMENT FOR DEFENDANT
CHARLES B. HENSLEY

Plaintiff,

Vv.
CHARLES B. HENSLEY,

Defendant.

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1. This constitutes the plea agreement between CHARLES B.
HENSLEY (“defendant”) and the United States Attorney’s Office for
the Central District of California (“the USAO”) in the
above-captioned case. This agreement is limited to the USAO and
cannot bind any other federal, state, local, or foreign
prosecuting, enforcement, administrative, or regulatory
authorities.

DEFENDANT’ S OBLIGATIONS

2. Defendant agrees to:

a) At the earliest opportunity requested by the USAO

 
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and provided by the Court, appear and plead guilty to count four
of the indictment in United States v. Charles B. Hensley, CR No.
11-00455-JAK.

b) Not contest facts agreed to in this agreement.

c) Abide by all agreements regarding sentencing factors
contained in this agreement.

d) Appear for all court appearances, surrender as
ordered for service of sentence, obey all conditions of any bond,
and obey any other ongoing court order in this matter.

e) Not commit any crime; however, offenses that would
be excluded for sentencing purposes under Sentencing Guidelines
§ 4A1.2(c) are not within the scope of this agreement.

£) Be truthful at all times with Pretrial Services, the
United States Probation Office, and the Court.

g) Pay the applicable special assessment at or before
the time of sentencing unless defendant lacks the ability to pay
and submits a completed financial statement (form OBD-500) to the
USAO prior to sentencing.

3. Defendant further agrees:

a) To consent and hereby consents to administrative and
judicial forfeiture of approximately $85,413.61 seized from
PayPal accounts XXXXXXXXXXXXXXX7407 and XXXXXXXKXXXXXXXxX1470
(“forfeiture currency”), which accounts defendant acknowledges
were established for defendant’s benefit and were under his
control although held in the names of other persons.

d) Not to contest any administrative or judicial

forfeiture proceedings commenced against the forfeiture currency.

 
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c) To take whatever steps are necessary to pass to the
United States clear title to the forfeiture currency, including,
without limitation, the execution of a consent decree of
forfeiture and the completion of any other legal documents
required for the transfer of title to the United States. In this
regard, defendant agrees to cause Ernesto Barron (“Barron”), Sung
Hak Pyo (“Pyo”) and PRB Pharmacueatical, Inc. each to consent to
forfeiture of the forfeiture currency, execute a written
agreement to consent to forfeiture of the same, and deliver the
executed agreement to the government within 10 days of
defendant’s execution of this Plea Agreement. The agreements to
be signed and delivered shall be in the form attached to this
plea agreement as Attachment B. Defendant acknowledges that the
forfeiture currency constitutes proceeds of the sales of Vira 38,
an unapproved drug, in the United States by defendant.

d) Not to assist any other individual or entity in any
effort to contest falsely the forfeiture of the forfeiture
currency.

£) Not to claim that reasonable cause to seize the
forfeiture currency was lacking.

g) to stipulate and hereby stipulate that forfeiture of
the forfeiture currency described above may not be counted toward
Satisfaction of any special assessment, fine, restitution, costs,
or other penalty the Court may impose.

THE USAO'S OBLIGATIONS
4. The USAO agrees to:
a) Not contest facts agreed to in this agreement.

b) Abide by all agreements regarding sentencing factors

 
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contained in this agreement.

c) Not to seek restitution provided that Barron, Pyo
and PRB Pharmaceutical, Inc. consent to forfeiture of the
forfeiture currency as provided in paragraph 3(c) above.

d) At the time of sentencing, move to dismiss the
remaining counts of the indictment as against defendant.
Defendant agrees, however, that at the time of sentencing the
Court may consider the dismissed counts in determining the
applicable Sentencing Guidelines range, the propriety and extent
of any departure from that range, and the sentence to be imposed
after consideration of the Sentencing Guidelines and all other
relevant factors under 18 U.S.C. § 3553(a).

NATURE OF THE OFFENSE

5. In order for defendant to be guilty of the crime
charged in count four, which charges a violation of Title 21,
United States Code, Sections 331(d), 355(a) and 333(a), the
following must be true: Defendant introduced, delivered for
introduction, caused to be introduced, or caused to be delivered
for introduction into interstate commerce a new drug without
having obtained approval of an application filed pursuant to 21
U.S.C. § 355(b) or (j). Defendant admits that defendant is, in
fact, guilty of this offense as described in count four of the
indictment.

PENALTIES

6. Defendant understands that the statutory maximum
sentence that the Court can impose for a violation of Title 21,
United States Code, Sections 331(d), 355(a) and 333(a), is: one

year of imprisonment; a one-year period of supervised release; a

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fine of $1,000, whichever is greatest; and a mandatory special
assessment of $25.

7. Defendant understands that supervised release is a
period of time following imprisonment during which defendant will
be subject to various restrictions and requirements. Defendant
understands that if defendant violates one or more of the
conditions of any supervised release imposed, defendant may be
returned to prison for all or part of the term of supervised
release authorized by statute for the offense that resulted in
the term of supervised release, which could result in defendant
serving a total term of imprisonment greater than the statutory
maximum stated above.

8. Defendant also understands that, by pleading guilty,
defendant may be giving up valuable government benefits and
valuable civic rights, such as the right to vote, the right to
possess a firearm, the right to hold office, and the right to
serve on a jury.

9. Defendant further understands that the conviction in
this case may also subject defendant to various other collateral
consequences, including but not limited to revocation of
probation, parole, or supervised release in another case and
suspension or revocation of a professional license. Defendant
understands that unanticipated collateral consequences will not
serve as grounds to withdraw defendant’s guilty plea.

FACTUAL BASIS

10. Defendant and the USAO agree to the statement of facts

attached hereto as Attachment A. Defendant and the USAO agree

that this statement of facts is sufficient to support a plea of

 
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guilty to the charge described in this agreement and to establish
the Sentencing Guidelines factors set forth in paragraph 11 below
but is not meant to be a complete recitation of all facts
relevant to the underlying criminal conduct or all facts known to
either party that relate to that conduct.

SENTENCING FACTORS

11. Defendant understands that in determining defendant’s
sentence the Court is required to consider the factors set forth
in 18 U.S.C. § 3553(a) (1)-(7), including the kinds of sentence
and sentencing range established under the United States
Sentencing Guidelines (“U.S.S.G.” or “Sentencing Guidelines”).
Defendant understands that the Sentencing Guidelines are advisory
only, that defendant cannot have any expectation of receiving a
sentence within the Sentencing Guidelines range, and that after
considering the Sentencing Guidelines and the other § 3553(a)
factors, the Court will be free to exercise its discretion to
impose any sentence it finds appropriate up to the maximum set by
statute for the crime of conviction.

12. Defendant and the USAO agree to the following
applicable Sentencing Guidelines factor:

Base Offense Level : 6 [U.S.S.G. § 2N2.1]

At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up
to and including the time of sentencing, and satisfies the terms
of paragraphs 2 and 3 herein, the UASO will recommend a two-level
reduction in the applicable Sentencing Guidelines offense level,
pursuant to U.S.S.G. § 3E1.1. Subject to paragraph 26 below,

defendant and the USAO agree not to seek, argue, or suggest in

 
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any, either orally or in writing, that any other specific offense
characteristics, adjustments, or departures relating to the
offense level be imposed. The USAO further agrees that if the
applicable Sentencing Guidelines sentencing range permits
probation, it will not oppose defendant’s request for a sentence
of probation. However, the government may oppose the specific
terms and conditions of such a request.

13. Defendant understands that there is no agreement as to
defendant’s criminal history or criminal history category.

14. Defendant reserves the right to argue for a sentence
outside the sentencing range established by the Sentencing
Guidelines based on the factors set forth in 18 U.S.C.

§ 3553(a) (1), (a) (2), (a) (3), (a) (6), and (a) (7).
WAIVER OF CONSTITUTIONAL RIGHTS

15. Defendant understands that by pleading guilty,
defendant gives up the following rights:

a) The right to persist ina plea of not guilty.

b) The right to a speedy and public trial by jury.

c) The right to the assistance of an attorney at trial,
including the right to have the Court appoint an attorney to
represent defendant at trial. Defendant understands, however,
that, despite defendant’s guilty plea, defendant retains the
right to be represented by an attorney -- and, if necessary, to
have the Court appoint an attorney if defendant cannot afford one
-- at every other stage of the proceeding.

d) The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant

guilty beyond a reasonable doubt.

 
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e) The right to confront and cross-examine witnesses
against defendant.

£) The right to testify on defendant’s own behalf and
present evidence in opposition to the charges, including calling
witnesses and subpoenaing those witnesses to testify.

g) The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

h) Any and all rights to pursue any affirmative
defenses, Fourth Amendment or Fifth Amendment claims, and other
pretrial motions that have been filed or could be filed.

WAIVER OF APPEAL OF CONVICTION

16. Defendant understands that, with the exception of an
appeal based on a claim that defendant’s guilty plea was
involuntary, by pleading guilty defendant is waiving and giving
up any right to appeal defendant’s conviction on the offense to
which defendant is pleading guilty.
LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE AND COLLATERAL ATTACK

17. Defendant agrees that, provided the Court imposes a
total term of imprisonment within or below the range
corresponding to an offense level of 6 and the criminal history
category calculated by the Court, defendant gives up the right to
appeal all of the following: (a) the procedures and calculations
used to determine and impose any portion of the sentence; (b) the
term of imprisonment imposed by the Court; (c) the fine imposed
by the court, provided it is within the statutory maximum; (d)
the term of probation or supervised release imposed by the Court,

provided it is within the statutory maximum; and (e) any of the

 
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following conditions of probation or supervised release imposed
by the Court: the standard conditions set forth in General Orders
318, 01-05, and/or 05-02 of this Court; the drug testing
conditions mandated by 18 U.S.C. §§ 3563(a) (5) and 3583(d).

18. Defendant also gives up any right to bring a post-
conviction collateral attack on the conviction or sentence,
except a post-conviction collateral attack based on a claim of
ineffective assistance of counsel, a claim of newly discovered
evidence, or an explicitly retroactive change in the applicable
Sentencing Guidelines, sentencing statutes, or statutes of
conviction.

19. The USAO agrees that, provided (a) all portions of the
sentence are at or below the statutory maximum specified above
and (b) the Court imposes a term of imprisonment within or above
the range corresponding to an offense level of 6 and the criminal
history category calculated by the Court, the USAO gives up its
right to appeal any portion of the sentence.

RESULT OF WITHDRAWAL OF GUILTY PLEA

20. Defendant agrees that if, after entering a guilty plea
pursuant to this agreement, defendant seeks to withdraw and
succeeds in withdrawing defendant’s guilty plea on any basis
other than a claim and finding that entry into this plea
agreement was involuntary, then (a) the USAO will be relieved of
all of its obligations under this agreement; and (b) should the
USAO choose to pursue any charge or any civil, administrative, or
regulatory action that was either dismissed or not filed as a
result of this agreement, then (i) any applicable statute of

limitations will be tolled between the date of defendant’s

 
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signing of this agreement and the filing commencing any such
action; and (ii) defendant waives and gives up all defenses based
on the statute of limitations, any claim of pre-indictment delay,
or any speedy trial claim with respect to any such action, except
to the extent that such defenses existed as of the date of
defendant’s signing this agreement.
RESULT OF VACATUR, REVERSAL OR SET-ASIDE

21. Defendant agrees that if the count of conviction is
vacated, reversed, or set aside, both the USAO and defendant will
be released from all their obligations under this agreement.

EFFECTIVE DATE OF AGREEMENT

22. This agreement is effective upon signature and
execution of all required certifications by defendant,
defendant’s counsel, and an Assistant United States Attorney.

BREACH OF AGREEMENT

23. Defendant agrees that if defendant, at any time after
the signature of this agreement and execution of all required
certifications by defendant, defendant’s counsel, and an
Assistant United States Attorney, knowingly violates or fails to
perform any of defendant’s obligations under this agreement (“a
breach”), the USAO may declare this agreement breached. All of
defendant’s obligations are material, a single breach of this
agreement is sufficient for the USAO to declare a breach, and
defendant shall not be deemed to have cured a breach without the
express agreement of the USAO in writing. If the USAO declares
this agreement breached, and the Court finds such a breach to
have occurred, then: (a) if defendant has previously entered a

guilty plea pursuant to this agreement, defendant will not be

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able to withdraw the guilty plea, and (b) the USAO will be
relieved of all its obligations under this agreement.

24. Following the Court’s finding of a knowing breach of
this agreement by defendant, should the USAO choose to pursue any
charge or any civil, administrative, or regulatory action that
was either dismissed or not filed as a result of this agreement,
then:

a) Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant’s signing of
this agreement and the filing commencing any such action.

b) Defendant waives and gives up all defenses based on
the statute of limitations, any claim of pre-indictment delay, or
any speedy trial claim with respect to any such action, except to
the extent that such defenses existed as of the date of
defendant’s signing this agreement.

c) Defendant agrees that: (i) any statements made by
defendant, under oath, at the guilty plea hearing (if sucha
hearing occurred prior to the breach); (ii) the agreed to factual
basis statement in this agreement; and (iii) any evidence derived
from such statements, shall be admissible against defendant in
any such action against defendant, and defendant waives and gives
up any claim under the United States Constitution, any statute,
Rule 410 of the Federal Rules of Evidence, Rule 11(f£) of the
Federal Rules of Criminal Procedure, or any other federal rule,
that the statements or any evidence derived from the statements

should be suppressed or are inadmissible.

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COURT AND PROBATION OFFICE NOT PARTIES

25. Defendant understands that the Court and the United
States Probation Office are not parties to this agreement and
need not accept any of the USAO’s sentencing recommendations or
the parties’ agreements to facts or sentencing factors.

26. Defendant understands that both defendant and the USAO
are free to: (a) supplement the facts by supplying relevant
information to the United States Probation Office and the Court,
(b) correct any and all factual misstatements relating to the
Court’s Sentencing Guidelines calculations, and (c) argue on
appeal and collateral review that the Court’s Sentencing
Guidelines calculations are not error, although each party agrees
to maintain its view that the calculations in paragraph 12 are
consistent with the facts of this case. While this paragraph
permits both the USAO and defendant to submit full and complete
factual information to the United States Probation Office and the
Court, even if that factual information may be viewed as
inconsistent with the facts agreed to in this agreement, this
paragraph does not affect defendant’s and the USAO’s obligations
not to contest the facts agreed to in this agreement.

27. Defendant understands that even if the Court ignores
any sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to
the maximum established by statute, defendant cannot, for that
reason, withdraw defendant’s guilty plea, and defendant will
remain bound to fulfill all defendant’s obligations under this
agreement. Defendant understands that no one -- not the

prosecutor, defendant’s attorney, or the Court -- can make a

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binding prediction or promise regarding the sentence defendant
will receive, except that it will be within the statutory
maximum,
NO ADDITIONAL AGREEMENTS

28, Defendant understands that, except as set forth herein,
there are no promises, understandings, or agreements between the
USAO and defendant or defendant's attorney, and that no
additional promise, understanding, oe eoxesnent may be entered
into unless in a writing signed by all parties or on the record
in court,

PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

29. The parties agree that this agreement will be
considered part of the record of defendant’s guilty plea hearing
as if the entire. agreement had been read into the record of the
proceeding.
AGREED AND ACCEPTED

UNITED STATES ATTORNEY'S OFFICE
FOR THE CENTRAL DISTRICT OF CALIFORNIA

ANDRE BIROTTE JR.
United States Attorney

YRS AY lf

PIO S. KIM Date
Assistant United States Attorney

(Kole. jhu fo ZLi2l 1

CHARLES B. HENSLEY | Date

Defendant
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Date

 

 

YKERRY R, BENSINGER <~
Attorney for Fendant
Charles B. Hensley

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CERTIEL CATION OF DEFENDANT

I have read this agreenent in its entirety. I have had
enough time to review and consider this agreement, and I have
carefully and thoroughly discussed every part of it with my
attorney. I understand the terms of this agreement, and I
voluntarily agree to those terms. I have discussed the evidence
with my attorney, and my attorney has aaelscd me of my rights, of
possible pretrial motions that might be filed, of possible
defenses that might be asserted either prior to or at trial, of
the sentencing factors set forth in 18 U.S.C. § 3553(a), of
relevant Sentencing Guidelines provisions, and of the
consequences of entering into this agreement. No promises,
inducements, or representations of any kind have been made to me
other than those contained in this agreement. No one has
threatened or forced me in any way to enter into this agreement.
I am satisfied with the representation of my attorney in this
matter, and IT am pleading guilty because I am ‘guilty of the
charges and wish to take advantage of the promises set forth in

this agreement, and not for any other reason.

Hf. ly hhiw Le, Flas a

CHARLES B,. HENSLEY Date
Defendant .

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CERTIFICATION OF DEFENDANT’ S ATTORNEY

Iam Charles B. Hensley’s attorney. I have carefully and
thoroughly discussed every part of this agreement with my client.
Further, I have fully advised my client of his rights, of
possible pretrial motions that might be filed, of possible
defenses that might be asserted either prior to or at trial, of
the sentencing factors set forth in 18 U:S.C. § 3553(a), of
relevant Sentencing Guidelines provisions, and of the
consequences of entering into this agreement. To my knowledge:
no promises, inducements, or representations of any kind have

been made to my client other than those contained in this

agreement; no one has threatened or forced my client in any way

to enter into thig agreement; my client's decision to enter into
this agreement, is an informed and voluntary one; and the factual
basis set forth in this agreement is sufficient to support my

client’s entry of a guilty plea pursuant to this agreement,

LY.

Date

Attorney for Defendant °
Charles B. Hensley

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ATTACHMENT A
STATEMENT OF FACTS

Defendant CHARLES HENSLEY (“defendant”) was the owner of PRB
Pharmaceuticals (“PRB”), Located at 10532 Walker Street, Suite B,
Cypress, California 90630 (“Cypress address”). Defendant is the
developer of a product called Vira 38.

In or around 2003, defendant sold and shipped to a
distributor, Benjamin Li (“Li”), bottles and boxes of Vira 38
without any labels for distribution in Hong Kong. Ui paid for
the bottles and cases of Vira 38, and the title to them was
transferred to Li. Defendant and Li discussed and agreed on
sitharaingy the labels on the boxes and bottles of Vira 38. “The
labels stated that Vira 38 was for the “Prevention and Treatment
of Influenza.” Li was not able to sell all of the Vira 38, which
he purchased from defendant.

Beginning in or around 2005, defendant caused a website to
be created and maintained. The website, which could be accessed
from any computer in the world with Internet access, was
www.prbpharmiceuticals.com (the “PRB Website”). The PRB
Website advertised Vira 38 and allowed customers to order Vira 38
through the website. The PRB Website provided a telephone number
that customers could call to order the product, The website
claimed that Vira 38 would prevent, cure, and mitigate symptoms
of the flu.

When customers ordered Vira 38, defendant or his employees

would inform Li or his agents of the orders, Li or his agents

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would then ship the orders from Hong Kong to the United States
directly to the customers or to PRB for delivery to the
customers. The labels on the bottles and boxes of Vira 38 that
were shipped to the United States and delivered to PRB customers
to fulfill their orders stated that Vira 38 was for the
“prevention and Treatment of Influenza.”

On or about October 16, 2005, a customer in Wichita, Kansas,
placed an order for Vira 38 with PRB. On or about October 24,
2005, Li or his agents mailed 13 bottles of Vira 38 from Hong
Kong to the customer in Wichita, Kansas, but the shipment was
detained by the FDA in Chicago, Illinois

Vira 38 was labeled and advertised for use in the diagnosis,
eum, mitigation, treatment,. or prevention of disease in man,
namely, influenza; and was intended to affect the structure or

any function of the body of man. As such, Vira 38 was a drug

within the meaning of the Federal Food, Drug, and Cosmetic Act,

Title 21, United States Code, Sections 301-397 (“FDCA”).

Vira 38 was also a new drug within the meaning of FDCA
because it was not generally recognized as safe and effective
among experts qualified by scientific training and experience to
evaluate the safety and effectiveness of drugs for use under the
conditions prescribed, recommended, or suggested in its labeling,
Further, it was an unapproved new drug within the meaning of FDCA
because there was no new drug application, abbreviated new drug
application or notice of claimed exemption for an investigational

new drug in effect with the FDA for Vira 38, as required by 21

Defendant’s initial CEE:

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U.S.C. § 355(b) and (j). At the time defendant sold or caused to
be sold the 13 bottles of Vira 38, he knew that he had not
applied for nor received any approval from the FDA to sell.Vira

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Defendant's initial (KY

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ATTACHMENT B
CONSENT TO FORFEITURE

I, , hereby consent to administrative and
judicial forfeiture of approximately $85,413.61 seized from
PayPal accounts XxXxXxXXXXXXXXXXXX7407 and XXXXXXXXXXXXXXX1470
(“forfeiture currency”). Further, I hereby waive and abandon
any and all defense to forfeiture of the forfeiture currency,
including any statute of limitations and any defense based on any
Constitutional right, and agree that the forfeiture currency may

be forfeited without any further notice to me.

Dated: , 2011

 

(Name)

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